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To the Capitol Police officers,

        I am writing this letter to address my mistakes that were taken place on this day. I
wanted to take full responsibility of all my actions and not shy away from the damage that was
done to this country on that day. From physical damage to the amount of mental strain it had
on people and more importantly our police officers and to have my name attached to such an
event is disappointing. My parents raised me better than this, but they also raised me to look at
the bright side. What this event did for me was very eye opening, it made me realize our
actions have real life consequences and it saddens me to think it took me 23 years to come to
this understating. I’m praying you see my words as my truth.
         To all the police officers working on January 6th and their families I apologize for being
part of a terrible day it was for them. I hope you guys can see through the bad to see I have a
caring heart and a true love for this country and all people who defend it and live in it. I had 0
intentions in my heart to do anybody but more importantly the men and women who protect
our communities around the clock, any harm. I hope you guys can have it in your heart to
forgive me and all harmful actions I might have done to the force.

                                                                            Sincerely,
                                                                            Jacob Wiedrich
